Case 3:17-cv-00321-WKW-SMD     Document 6-46     Filed 05/18/17   Page 1 of 8




                              EXHIBIT PP


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
 Case 3:17-cv-00321-WKW-SMD                    Document 6-46          Filed 05/18/17         Page 2 of 8 NOVEMBER 2013




                 RESEARCH SUMMARY




Pretrial criminal justice research commissioned by the Laura and John
Arnold Foundation (LJAF) has thrown new light on how critical the earliest
decisions made in the criminal justice system may be for public safety,
fairness, and cost effectiveness.




PRETRIAL CRIMINAL JUSTICE RESEARCH
Together, federal, state, and local corrections costs   wise use of public resources, and make our system
in the United States today exceed $80 billion per       more just.
year. Pretrial detainees account for more than 60
percent of the inmate population in our jails. The      Although police, prosecutors, and judges share the
cost to incarcerate defendants pretrial has been        same objectives – to detain those who pose a risk
estimated at over $9 billion per year. Many pretrial    to public safety and to release those who do not –
detainees are low-risk defendants, who, if released     this is not how our criminal justice system currently
before trial, are highly unlikely to commit other       operates. Criminal justice decisionmakers do their
crimes and very likely to return to court. Others       best to achieve these goals, but they typically do not
present moderate risks that can often be managed        have sufficient information about defendants, the
in the community through supervision, monitoring,       risks they pose, or the best methods to reduce these
or other interventions. There is, of course, a small    risks. Instead, key decisions are often made in a
but important group of defendants who should            subjective manner, based on experience and instinct,
most often be detained because they pose significant    rather than on an objective, data-driven assessment
risks of committing acts of violence, committing        of a defendant’s risk level and the most effective
additional crimes, or skipping court.                   approach to protecting public safety in each case.

The key, then, is to make sure that we accurately       For two years, LJAF has been working to improve
distinguish among the low-, moderate-, and high-        how decisions are made during the earliest part of the
risk defendants – and identify those who are at an      criminal justice process, from the time a defendant
elevated risk for violence. Moreover, it is important   is arrested until the case is resolved. Our strategy
that, when we determine how to deal with defendants     has been to use data, analytics, and technology
during the pretrial period, we appropriately assess     to promote a transition from subjective to more
what risk individual defendants pose. By making         objective decision-making. To that end, we are
decisions in this manner, we can reduce crime, make     developing easy-to-use, data-driven risk assessments



                                                                                          W W W. A R N O L D F O U N DAT I O N . O R G
       Case 3:17-cv-00321-WKW-SMD                       Document 6-46           Filed 05/18/17            Page 3 of 8



for judges and prosecutors and are exploring tools to               detained before trial, and the likelihood that they
assist police in determining when to arrest an individual           would reoffend in both the short- and long-term.
and when to issue a citation instead. In addition, we               Even for relatively short periods behind bars, low-
are pursuing research into key criminal justice issues,             and moderate-risk defendants who were detained
including the impacts of pretrial release and detention;            for more days were more likely to commit additional
and we are investigating the long-unanswered question of            crimes in the pretrial period – and were also more
what approaches are successful at reducing future crime –           likely to do so during the two years after their
and for whom they are most effective. The LJAF research             cases ended.
released today – which was conducted in partnership with
two of the nation’s leading pretrial justice researchers, Dr.           The Impact of Pretrial Supervision:
Marie VanNostrand and Dr. Christopher Lowenkamp – is
a key part of this effort. The central findings of these three      This study drew on data from two states, one eastern
studies are summarized below:                                       and one western, and found that moderate- and high-
                                                                    risk defendants who received pretrial supervision
                  The Effect of                                     were significantly more likely to appear for their
        Pretrial Detention on Sentencing:                           day in court than those who were unsupervised. In
                                                                    addition, long periods of supervision (more than
   A study, using data from state courts, found that                180 days) were related to a decrease in new criminal
   defendants who were detained for the entire pretrial             activity; however, no such effect was evident for
   period were over four times more likely to be                    supervision of 180 days or less.
   sentenced to jail and over three times more likely
   to be sentenced to prison than defendants who                 These studies raise significant questions about the way our
   were released at some point pending trial. And                pretrial system currently works. They also demonstrate
   their sentences were significantly longer – almost            the tremendous need for additional research in this area.
   three times as long for defendants sentenced to jail,         As part of our commitment to using data, analytics, and
   and more than twice as long for those sentenced to            technology to transform the front end of the criminal
   prison. A separate study found similar results in the         justice system – what we call Moneyballing criminal justice
   federal system.                                               – LJAF stands committed to pursuing a robust research
                                                                 agenda to answer these pressing questions and to make
                 The Hidden Costs of                             sure the system is as safe, fair, and cost-effective as possible.
                  Pretrial Detention:

   Using statewide data from Kentucky, this study
   uncovered strong correlations between the length
   of time low- and moderate-risk defendants were




   Key decisions are often made in a subjective manner, based on experience and
   instinct, rather than on an objective, data-driven assessment of a defendant’s risk
   level and the most effective approach to protecting public safety in each case.



                                                                                                 W W W. A R N O L D F O U N DAT I O N . O R G | 2
        Case 3:17-cv-00321-WKW-SMD                              Document 6-46           Filed 05/18/17          Page 4 of 8



I. THE EFFECT OF PRETRIAL DETENTION
   ON SENTENCING


Two recent studies funded by LJAF shed new light on
the impact that a defendant’s release or detention before
trial can have on the eventual sentence in the case. These
studies – one using data from federal courts and the other
using data from state courts – demonstrate that pretrial
detention is associated with an increase in the likelihood a
defendant will be sentenced to jail or prison, as well as the
length of incarceration.1 The findings serve to underscore
just how important judges’ decisions regarding pretrial
release and detention truly are.

The state study analyzed records of over 60,000 defendants
arrested in Kentucky in 2009 and 2010. It found that
defendants detained for the entire pretrial period were
over four times more likely to be sentenced to jail and over
three times more likely to be sentenced to prison than
defendants who were released at some point pending trial.
Sentences were also significantly longer – nearly three
times as long for defendants sentenced to jail and more
than twice as long for those sentenced to prison.

The analysis focused on the relationship between                          The second study examined similar questions in the
detention and sentencing. The study controlled for the                    context of federal courts. The study, which is currently
other variables in the data set, meaning that defendants                  under review by a peer-reviewed journal, was conducted
who were compared to one another were similar in terms                    by Dr. Lowenkamp, Dr. VanNostrand, Dr. James Oleson
of age, gender, race, marital status, risk level, offense type,           of the University of Auckland, Timothy Cadigan of
incarceration history and other factors. In other words,                  the Administrative Office of the United States Courts
defendants who were similar in every known way – except                   (retired), and Dr. John Wooldredge of the University of
for their pretrial release status – had different outcomes                Cincinnati. Drawing on 1,798 cases from two United
at sentencing.                                                            States District Courts, the research found that pretrial
                                                                          release reduces sentence length for all defendants, even if
 Studies demonstrate that pretrial detention is                           release is ultimately revoked due to a defendant’s failure
                                                                          to adhere to conditions of release. Indeed, detained
  associated with an increase in the likelihood a
                                                                          defendants’ sentences are, on average, nearly two times
 defendant will be sentenced to jail or prison, as                        longer than those of released defendants. And while
          well as the length of incarceration.                            defendants who were released and later revoked received
                                                                          longer sentences than defendants who completed pretrial
                                                                          release without incident, their sentences were still
1 Jails are usually locally operated and are used to detain individuals   shorter than defendants who were never released at
  prior to trial or can be used to incarcerated individuals who have      all. These findings were obtained while controlling for
  been sentenced, typically for one year or less. Prisons are state or
  federally run and are used to incarcerate sentenced individuals         known factors.
  typically for one year or more, and often for much longer.



                                                                                                       W W W. A R N O L D F O U N DAT I O N . O R G | 3
   Case 3:17-cv-00321-WKW-SMD                       Document 6-46          Filed 05/18/17          Page 5 of 8




The importance of these findings is clear when                 and many of the tools that are in use are neither data-
considering the state of our federal prison system. More       driven nor validated. Kentucky provided a unique
than 110,000 defendants went through the federal court         research opportunity because it used a validated tool
system in 2011, 86 percent of whom were sentenced              that provided us with an understanding of the level
to federal prison for an average sentence of almost 5½         of risk that individual defendants posed. While risk
years. Since 1980, the Bureau of Prison population             assessments could not be completed on approximately
has grown tenfold. The fiscal costs of this increase are       30 percent of defendants, we were able to study whether,
staggering: Each prisoner in the system costs taxpayers        for the remaining 70 percent, the impact of pretrial
between $21,006 (minimum security) and $33,930                 detention varied depending on their risk levels.
(high security) annually.
                                                               This study indicates that effectively distinguishing
II. THE HIDDEN COSTS OF                                        between low-, moderate-, and high-risk defendants
    PRETRIAL DETENTION                                         at the pretrial stage could potentially enhance
                                                               community safety.
The primary goal of the American criminal justice
system is to protect the public. But what if, rather than      The research findings are summarized below.
protecting society, the pretrial phase of the system is
actually helping to create new repeat offenders?               A. PRETRIAL DETENTION AND
                                                                  PRETRIAL OUTCOMES
That is the question raised by an LJAF-funded study
that analyzed data on over 153,000 defendants booked           This study explored whether there is a link between time
into jail in Kentucky in 2009 and 2010. The analysis           spent in pretrial detention and the commission of new
showed that low-risk defendants who were detained              criminal activity or failure to appear in court. The study
pretrial for more than 24 hours were more likely to            looked at 66,014 cases in which the defendants were
commit new crimes not only while their cases were              released at some point before trial, and found that even
pending, but also years later. In addition, they were          very small increases in detention time are correlated
more likely to miss their day in court. Conversely, for        with worse pretrial outcomes. The research controlled
high-risk defendants, there was no relationship between        for other known variables. The study found that,
pretrial incarceration and increased crime. This suggests      when held 2-3 days, low-risk defendants were almost
that high-risk defendants can be detained before trial         40 percent more likely to commit new crimes before
without compromising, and in fact enhancing, public            trial than equivalent defendants held no more than 24
safety and the fair administration of justice.                 hours. The study indicates that the correlation generally
                                                               escalates as the time behind bars increases: low-risk
Judges, of course, do their best to sort violent, high-risk    defendants who were detained for 31 days or more
defendants from nonviolent, low-risk ones, but they            offended 74 percent more frequently than those who
have almost no reliable, data-driven risk assessment           were released within 24 hours. A similar pattern held
tools at their disposal to help them make these                for moderate-risk defendants, though the percentage
decisions. Fewer than 10 percent of U.S. jurisdictions         increase in rates of new criminal activity is smaller.
use any sort of risk-assessment tools at the pretrial stage,




                                                                                          W W W. A R N O L D F O U N DAT I O N . O R G | 4
    Case 3:17-cv-00321-WKW-SMD                     Document 6-46          Filed 05/18/17           Page 6 of 8



Interestingly, for high-risk defendants, the study           For detention periods of up to 14 days, according to
found no relationship between pretrial detention and         the study, the longer a low-risk defendant was detained
increased new criminal activity. In other words, there       before trial, the more likely he was to commit a new
is no indication that detaining high-risk defendants         crime within two years of case disposition. Compared
for longer periods before trial will lead to a greater       to individuals released within 24 hours of arrest, low-risk
likelihood of pretrial criminal activity.                    defendants held 2-3 days were 17 percent more likely
                                                             to commit another crime within two years. Detention
                  Increase in New Criminal Arrest            periods of 4-7 days yielded a 35 percent increase in re-
                          Low-Risk Defendants                offense rates. And defendants held for 8-14 days were
                                                             51 percent more likely to recidivate than defendants
                                                             who were detained less than 24 hours. Although the
                                                             effects began to diminish slightly beyond 14 days, low-
                                                             risk defendants remained significantly more likely to
                                                             reoffend in the long run as compared to defendants
                                                             released within 24 hours. Again, these effects were
                                                             observed among defendants who were matched on all the
                                                             other measurable variables. For high-risk defendants,
                                                             however, more days spent in pretrial detention were not
                                                             associated with an increase in recidivism.

                                                                                Increase in 2-Year Recidivism
                                                                                       Low-Risk Defendants
This same pattern emerged for failure to appear. Low-
risk defendants held for 2-3 days were 22 percent
more likely to fail to appear than similar defendants
(in terms of criminal history, charge, background, and
demographics) held for less than 24 hours. The number
jumped to 41 percent for defendants held 15-30 days.
For low-risk defendants held for more than 30 days, the
study found a 31 percent increase in failure to appear.
Again, however, detention was found to have no impact
on high-risk defendants’ rates of missing court, and for
moderate-risk defendants, the effect was minimal.

B. PRETRIAL DETENTION AND
   LONG-TERM RECIDIVISM                                      C. POLICY IMPLICATIONS


Even for relatively short periods of detention, according    In our criminal justice system today, judges frequently
to the study, the longer a low-risk defendant was detained   do not have an objective, scientific, and data-driven
before trial, the more likely he was to commit a new         risk assessment to assist them in understanding the
crime within two years of case disposition. Specifically,    amount of risk that an individual defendant poses.
controlling for other known variables, the study found       Moreover, length of detention is frequently determined
that pretrial detention is associated with long-term         by factors totally unrelated to a defendant’s risk level
recidivism, particularly for low-risk defendants.            – for instance, the administrative speed with which a




                                                                                          W W W. A R N O L D F O U N DAT I O N . O R G | 5
    Case 3:17-cv-00321-WKW-SMD                    Document 6-46          Filed 05/18/17           Page 7 of 8



given court system can process defendants. In some          based on defendants’ risk levels, researchers used an
jurisdictions, defendants may be held up to three days      existing validated risk assessment to assign defendants
before their first opportunity to go before a judge who     to risk categories.
will determine whether they are detained or released.
What we see from this research is that the costs of these   The study found that moderate- and high-risk
delays may potentially result in increased crime. The       defendants who received pretrial supervision were
study finding regarding high-risk defendants is equally     significantly more likely to appear for their day in court.
important: There appears to be no tradeoff between          When controlling for state, gender, race, and risk,
protecting the public during the pretrial period and        moderate-risk defendants who were supervised missed
improving public safety years later.                        court dates 38 percent less frequently than unsupervised
                                                            defendants. For high-risk defendants, the reduction
Although these studies do not demonstrate causation,        was 33 percent. Analysis of various samples of the low-
they show correlations between length of detention          risk population generated inconsistent findings about
and negative outcomes for low- and moderate-risk            the impacts of supervision on failure-to-appear rates
defendants. Additional studies are needed to further        – suggesting that the relationship between supervision
research these and other questions.                         for low-risk defendants and failure to appear is minimal
                                                            or nonexistent.
III. THE IMPACT OF PRETRIAL SUPERVISION
                                                            In addition, pretrial supervision of more than 180 days
Although one of the most important decisions made           was statistically related to a decrease in the likelihood
before a criminal trial is whether to release or detain     of new criminal activity before case disposition.
a defendant, the need for more data-driven tools does       Defendants supervised pretrial for six months or more
not end there. Judges frequently assign conditions to       were 22 percent less likely to be arrested for new crimes
defendants they release, which may include pretrial         before case disposition. While this finding is intriguing,
supervision. There are many different models of pretrial    the data set was not specific enough with regard to type
supervision, some of which include periodic calls or        of supervision to draw definite conclusions about the
meetings with a pretrial services officer, drug testing     impact of supervision on new criminal activity pending
or treatment, or electronic monitoring. Currently,          case disposition.
however, judges have very little data to help them
determine who to assign to supervision, and what type       This study is significant because it tells us that pretrial
of supervision works best for whom. With this in mind,      supervision may be effective in reducing failure to appear
LJAF is pursuing a number of studies of conditions of       rates and, after a time, new criminal activity. However,
release including pretrial supervision.                     while it appears that supervision generally helps prevent
                                                            negative pretrial outcomes, details are scarce. For
In its initial study of pretrial supervision, LJAF          instance, in this study, no information was provided
researchers looked at 3,925 defendants from two states,     as to what type of supervision (minimal, moderate,
one eastern and one western, and compared 2,437             or intensive) defendants received. And what types of
defendants who were released without supervision with       supervision work for which defendants is something the
1,488 who were released with supervision. In order          field does not yet know. LJAF is committed to pursuing
to determine whether the effects of supervision varied      additional research in these important areas.




                                                                                         W W W. A R N O L D F O U N DAT I O N . O R G | 6
   Case 3:17-cv-00321-WKW-SMD                      Document 6-46          Filed 05/18/17           Page 8 of 8



IV. CONCLUSION                                                As important as these findings are, however, there
                                                              remains an acute need for more research in this area.
This research demonstrates how critical it is to focus on     Moreover, for ethical and practical reasons, it would
the pretrial phase of the criminal justice system. Pretrial   be difficult in many instances to conduct randomized
decisions made by judges, police, and prosecutors             controlled trials where judges would be asked to make
determine, as Caleb Foote stated in 1956, “mostly             detention, release, and supervision decisions based on
everything.” These studies demonstrate that pretrial          research objectives. As a result, studies such as these do
decisions may impact whether or not a defendant               not prove causation. Although the findings noted above
gets sentenced to jail or prison, and for how long;           are observational, and not causal, the correlations are so
that an increased length of pretrial detention for low-       striking that they merit further research.
and moderate-risk defendants is associated with an
increased likelihood that they will reoffend both during      LJAF is committed to researching questions that have
the pretrial period and two years after the conclusion of     arisen in these studies, and many others. This reflects our
their case; and that supervision may reduce failure to        commitment to leveraging research, data, and technology
appear rates and, when done for 180 days or more, new         to help jurisdictions improve public safety, reduce crime,
criminal activity.                                            make the best use of limited resources, and ensure that
                                                              the justice system is working as fairly and efficiently
                                                              as possible.



                       The full research reports for the studies can be accessed at:
                         www.arnoldfoundation.org/research/criminaljustice.




About Laura and John Arnold Foundation

Laura and John Arnold Foundation is a private foundation that currently focuses its strategic

investments on criminal justice, education, public accountability, and research integrity.

LJAF has offices in Houston and New York City.




                                                                                          W W W. A R N O L D F O U N DAT I O N . O R G | 7
